Case 1:21-cr-00599-RBW Document 90 Filed 03/28/23 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)

UNITED STATES OF AMERICA )
)

V. ) Criminal Action No. 21-599 (RBW)

)

DONNIE DUANE WREN and THOMAS _)
HARLEN SMITH, )
)

Defendants. )

)

ORDER

 

In accordance with the oral rulings issued by the Court at the status hearing held on
March 28, 2023, via teleconference, it is hereby

ORDERED that defendant Smith’s Motion to Continue, ECF No. 86, is DENIED.

ye fo Meher

REGGIE B. WALTON
United States District Judge

SO ORDERED this 28th day of March, 2023.

 
